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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


 TEXAS MEDICAL ASSOCIATION, et al.,

                    Plaintiffs,

          v.                                          No. 6:22-cv-00450-JDK
                                                      Lead Consolidated Case

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                    Defendants.


 LIFENET, INC., et al.,

                    Plaintiffs,

          v.                                          No. 6:22-cv-00453-JDK

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                    Defendants.


                                      NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit from the Memorandum Opinion and Order (ECF No. 62 in No. 6:22-

cv-00450-JDK) granting in part Plaintiffs’ motions for summary judgment and denying in part

Defendants’ cross-motion for summary judgment, entered on August 24, 2023; from the Final

Judgments (ECF No. 63 in No. 6:22-cv-00450-JDK and ECF No. 25 in No. 6:22-cv-00453-JDK),

entered on the same date; and from all previous rulings in these consolidated actions.

Dated: October 20, 2023                               Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 20th, 2023, I electronically filed the foregoing document

through the Court’s CM/ECF system which will send notification of such filing to all counsel of

record.

                                                                             /s/ Anna Deffebach
                                                                             Anna Deffebach
